THE SAVEN CORPORATION, A DELAWARE CORPORATION, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Saven Corp. v. CommissionerDocket No. 97649.United States Board of Tax Appeals45 B.T.A. 343; 1941 BTA LEXIS 1132; October 14, 1941, Promulgated *1132  1.  Petitioner's income tax returns failing to report large sums received as dividends in 1928 and 1929 held on facts shown to have been false and fraudulent with intent to evade tax.  2.  Petitioner, a holding company, having failed to overcome statutory presumption, held subject to tax under Revenue Act of 1928, section 104.  W. S. Farish &amp; Co.,38 B.T.A. 150"&gt;38 B.T.A. 150; affd. (C.C.A., 5th Cir.), 104 Fed.(2d) 833, distinguished.  A. L. Evely, Esq., Raymond H. Berry, Esq., and Prewitt Semmes, Esq., for the petitioner.  Thomas F. Callahan, Esq., for the respondent.  OPPER*343  Petitioner challenges respondent's determination of taxes and peenalties in the total amount of $1,251,126.04, composed as follows: YearDeficiency25 % penalty50% penalty1928$287,679.83$71,919.96$143,839.921929498,457.55None$249,228.78The primary issues are whether the deficiencies involved have been barred by the statute of limitations and, if they have not, whether petitioner was formed or availed of for the purpose mentioned in section 104 of the Revenue Act of 1928.  Fraud is urged by respondent*1133  to toll the statute and to sustain the fraud penalties.  Income tax returns of petitioner were filed with the collector for Michigan.  FINDING OF FACT.  In 1919 Edward S. Evans, who is now president and sole stockholder of petitioner, purchasd all of the outstanding stock of E. S. Evans &amp; Co., consisting of 120 shares, at $1,200.  In 1923 Edward S. Evans was approached by E. W. Bassick, the president of the Bassick-Alemite Corporation and allied companies who desired to buy a half interest in E. S. Evans &amp; Co.  After offers and counter offers had been made Bassick agreed to purchase a 51 percent interest in E. S. Evans &amp; Co. for $500,000.  This offer was accepted by Evans.  In order to protect himself from income tax which might result from his sale to Bassick, Edward S. Evans caused two corporations to be organized under the laws of Delaware - the Evans Corporation, with an authorized capital stock of 1,500 shares of no par value, and E. S. Evans &amp; Co., Inc., with an authorized capital stock of 10,000 shares of no par value.  *344  The first meeting of the board of directors of both corporations was held December 28, 1923, at 10 a.m. The directors of the Evans Corporation*1134  adopted resolutions accepting an offer of Edward S. Evans to sell and transfer to it the 120 shares of stock of E. S. Evans &amp; Co. in consideration of the issue to him of 1,000 shares of the Evans Corporation.  They also adopted a resolution authorizing Edward S. Evans to propose to E. S. Evans &amp; Co., Inc., to transfer to the latter 120 shares of E. S. Evans &amp; Co. stock when acquired in consideration of 10,000 shares of the stock of E. S. Evans &amp; Co., Inc.  The directors of E. S. Evans &amp; Co., Inc., at their meeting, adopted a resolution accepting the offer of the Evans Corporation to exchange the 120 shares of stock E. S. Evans &amp; Co. for 10,000 shares of the E. S. Evans &amp; Co., Inc., stock.  They further resolved to exchange the 120 shares of stock when acquired for all the assets of E. S. Evans &amp; Co. and to take over such assets subject to that company's liabilities, except those owing to Edward S. Evans.  At a meeting of the directors of E. S. Evans &amp; Co., Inc., held at 11 a.m., December 31, 1923, Edward S. Evans reported that, pursuant to the resolutions previously adopted, E. S. Evans &amp; Co., Inc., had acquired 120 shares of the capital stock of E. S. Evans &amp; Co. and that the proposal*1135  had been made to that company to purchase all its assets in consideration of the transfer to it of 120 shares of its own stock.  Edward S. Evans further reported that the proposal authorized to be made had been accepted and that the transfers, assignments, and guarantees had been duly made and the accepted proposal consummated.  The directors of the Evans Corporation met on the same day and at the same hour.  Edward S. Evans reported that the Bassick-Alemite Corporation had on December 29, 1923, offered to purchase from it 5,100 shares of the stock of E. S. Evans &amp; Co., Inc., at a price of $500,000.  By resolution this offer was accepted.  On December 28, 1923, the Evans Corporation issued its certificate to Edward S. Evans for 1,000 shares of its stock.  Under date of December 29, 1923, E. S. Evans &amp; Co., Inc., issued its certificate to the Evans Corporation for 10,000 shares of its stock.  Under date of December 31, 1923, E. S. Evans &amp; Co. issued its certificate to the Evans Corporation for 120 shares of its stock and on the same date issued its certificate to E. S. Evans &amp; Co., Inc., for the same number of shares.  Under date of December 31, 1923, E. S. Evans &amp; Co., Inc., issued*1136  its certificate to the Evans Corporation for 4,900 shares of its stock and on the same day issued its certificate to the Bassick-Alemite Corporation for 5,100 shares.  *345  The Evans Corporation for the years 1923 to 1927, inclusive, showed the following surplus and dividend records: YearSurplus per booksDividends paid1923NoneNone1924$45,579.49None1925258,079.64None1926322,120.59None1927608,308.26NonePrior to the payment of dividends to petitioner in November and December 1928 in the amount of $575,000, as hereinafter set forth, the surplus of the Evans Corporation was $1,390,119.74, as shown by its books.  The Evans Corporation for the years 1924 through 1927 filed its returns as "Investment Bankers." For 1928 it stated its business to be "Dealer in Securities." Petitioner was organized October 18, 1928, with an authorized capitalization of $2,500,000.  Shortly prior thereto an appraisal of the assets of the Evans Corporation determined their value to be at least $2,500,000.  At about the time of petitioner's organization, Edward S. Evans exchanged the 1,000 shares of Evans Corporation (which he had received in 1923*1137  in exchange for 120 shares of E. S. Evans &amp; Co.) for all the authorized capital stock of petitioner, being 25,000 shares.  The 1,000 shares of Evans Corporation stock so received were set up on the books of the petitioner at a value of $2,500,000.  The basis of the 1,000 shares of Evans Corporation stock to petitioner was $1,200.  The Evans Corporation, pursuant to corporate resolution adopted November 7, 1928, the minutes for which recited that the directors "after consideration, have decided that the present financial position of the corporation permits the payment of a cash dividend," declared and paid cash dividends to stockholders of record on November 7, 1928, in the sums of $325,000 and $250,000 on November 12 and December 20, 1928, respectively.  These dividends were received by petitioner, the sole stockholder of the Evans Corporation.  The minutes of the Evans Corporation of January 10, 1929, recited that the directors of the corporation, after careful investigation having determined from an appraisal of the assets of the company recently made by two independent appraisers, which report demonstrated that the present value of its assets exceeded the par value of its*1138  issued capital stock, and from the report of the auditors of the corporation, a copy of which was stated to be annexed to the *346  minutes, that an inventory of the assets of this company taken at cost or market showed that such value of the assets exceeded the par value of its issued captial stock and that a surplus existed: * * * thereupon, after a motion was duly made, seconded and unanimously carried.  RESOLVED THAT WHEREAS the value of the following assets, to wit: cash $39,072.55, accounts $177,640.63, interest receivable $4,139.51, Stocks $569,000.00, real estate $788,053.06, furniture $3,783.16, sundry assets $183,346.51; less liabilities $662,870.81, a net value of $1,102,164.61 taken at market or a conservative estimated value is more than equivalent to the par value of the issued capital stock of the corporation, and WHEREAS in addition to the assets aforementioned the corporation has among its assets the following assets, to wit: Bonds $533,578.36, Accrued Bond Interest $6,671.75, Stock $288,278.88 and Accounts $171,471.01 which represent a cost to this corporation of $1,000,000.00 and WHEREAS the said assets constitute surplus assets and may be distributed*1139  as a dividend without impairation, Now, THEREFORE BE IT RESOLVED that there be and there hereby is declared, appropriated and set aside from the assets of the corporation, the following assets to wit: Bonds $533,578.36, Accrued Bond Interest $6,671.75, Stocks $288,278.88, Accounts $171,471.01 as a dividend payable to the stockholders of record at the close of business on January 15, 1929, and FURTHER RESOLVED that the proper officers of the corporation be and they hereby are authorized, empowered and directed to give notice of such dividend to all stockholders of this corporation and to distribute the same pro rata among the stockholders of the corporation of record as of the close of business on the 15th day of January, 1929.  This dividend in kind had a market value of $1,019,091.01, and was received by petitioner on or about January 16, 1929, as the sole stockholder of the Evans Corporation.  The receipt of the above dividends was recorded upon petitioner's books and they were credited to the stock account in the ledger entitled "Evans Corporation Capital Stock", thereby reducing the value at which the stock was carried as an asset.  In addition to the dividends in question*1140  the petitioner, prior to the end of 1928, received $578.96 interest and $458.50 profit on one sale of stock.  It incurred an obligation of $677.81 for interest payable to its broker.  About three weeks before the creation of petitioner, respondent, on September 27, 1928, mailed a communication to the Evans Corporation holding it subject to taxation for the years 1924, 1925, and 1926 under the provisions of section 220 of the Revenue Acts of 1924 and 1926.  On December 29, 1938, respondent issued a notice of deficiency to the Evans Corporation covering the years 1928, 1929, and 1930, proposing deficiencies and fraud penalties.  The president and secretary *347  of the Evans Corporation determined that no appeal could be filed since the corporation had been out of existence for more than three years prior to the issuance of deficiency notices.  No petition was filed with the Board of Tax Appeals in connection with respondent's proposed deficiencies, nor was any action taken in court in connection therewith.  On March 15, 1930, there was filed on behalf of petitioner and sworn to by Edward S. Evans, as president and treasurer, a document designated Form 1120, for the calendar*1141  year 1928.  On its face only the formal parts at the top of the form were filled in.  At the blank space provided for the amount of total income which includes "Dividends on Stock of Domestic Corporations" there appears the word "None." A schedule is attached the material parts of which are as follows: SCHEDULE K - BALANCE SHEETSBeginning of Taxable YearEnd of Taxable YearASSETSCash$33,933.63Notes receivable250,000.00Accounts receivableLess reserve for bad debts53,678.98Inventories:Securities$2,500,000.002,222,819.47Total$2,500.000.00Deferred charges:Prepaid taxes1,369.20TOTAL ASSETS$2,500,000.00$2,561,801.28LIABILITIESAccounts payable$61,801.28Capital stock:Common stock (less stock in treasury)$2,500,000.00$2,500,000.00TOTAL LIABILITIES$2,500,000.00$2,561,801.28The "return" fails to reflect in any manner the receipt by petitioner of a dividend of $325,000 on November 12, 1928, and a dividend of $250,000 on December 20, 1928, both dividends having been paid in cash and received from the Evans Corporation.  Edward S. Evans was president and treasurer of both corporations in 1928 and*1142  1929.  No other document purporting to be a return was filed for or by petitioner for the year 1928.  The Evans Corporation for 1928 filed a tentative return on March 15, 1929, giving nothing but its estimated net income.  Its completed return which was filed April 15, 1929, signed and sworn to by Edward S. Evans, in schedule L indicated cash dividends paid November 12, 1928, $325,000, and December 20, 1928, $250,000.  On the same date as that on which petitioner's "return" for 1928 was filed, viz., March 15, 1930, a return on Form 1120 was filed on *348  behalf of petitioner for the year 1929, the return being signed and sworn to by Edward S. Evans, president and treasurer.  The material parts thereof are as follows: GROSS INCOMEGross Sales from Trading or Manufacturing, Less Returns and Allowances$1,209,122.92Less Cost of Goods Sold:Inventory at beginning of $2year,222,819.47Cost of manufactring of producing goods (From Schedule A)1,758,359.45Total$3,981,178.92Less inventory at end of year2,744,927.041,236,251.88Gross Profit from Trading or Manufacturing [apparently loss]$27,128.96Interest on Bank Deposits, Notes, Mortgages, and Corporation Bonds33,191.61Dividends on Stock of Domestic Corporations26,159.48Other Income (including dividends received on stock of foreign corporation): Sundry142.23$32,364.36DEDUCTIONS:Compensation of Officers (From Schedule C)$3,000.00Interest7,760.27Taxes (From Schedule E)20.00Dividends (From Schedule H)26,159.48Other Deductions Not Reported Above:Sundry Expense6,368.8043,308.55Net Income[apparently loss]$10,944.19*1143 SCHEDULE K - BALANCE SHEETSASSETSBeginning of taxable yearEnd of taxable yearCash$33,933.63$4,254.54Notes receivable250,000.00112,500.00Accounts receivable:Less reserve for bad debts53,678.9842,311.48Inventories:Securities2,222,819.472,744,927.04Deferred charges:All other1,369.20Other assets:Accrued Int. Receivable$4,933.07Put Well System4,720.009,653.07TOTAL ASSETS:$2,561,801.28$2,913,646.13LIABILITIESNotes Payable (less than one year)$396,764.18Accounts payable$61,801.281,666.66Capital stock:Common stock (less stock in treasury)2,500,000.002,500,000.00Undivided profits15,215.29TOTAL LIABILITIES$2,561,801.28$2,913,646.13SCHEDULE L - RECONCILIATION OF NET INCOME AND ANALYSIS OF CHANGES INSURPLUSNet income$10,944.19Nontaxable Income:Dividends deductible under Section 23(p) of the Revenue Act of 192826,159.48Total$15,215.29Net profit for year, as shown by books, before any adjustments are made therein15,215.29Total$15,215.29Surplus and undivided profits as shown by balance sheet at close of taxable year$15,215.29*1144 *349  Under schedule "H", "Dividends Deductible", the only amount of dividends shown to have been received is $26,159.48.  Nowhere on the return filed on behalf of the petitioner for 1929 does there appear any information regarding the receipt by petitioner of the $1,019,091.01 which was paid to it by the Evans Corporation on January 16, 1929.  On the return of the Evans Corporation for the year 1929, which return was also signed and sworn to by Edward S. Evans, president and treasurer, in schedule "L" there appears an item showing dividends paid January 16, 1929, $1,000,000.  For both 1928 and 1929 petitioner in its return denominated itself a "dealer in securities" and stated that its valuation of inventories was "cost or market whichever lower." A report of an internal revenue agent dated November 7, 1930, made after an examination of petitioner's books and records for 1929, noted the petitioner termed itself a dealer in securities, but set forth the opinion that, since the company bought and sold for itself and held its securities for investment, it should not be permitted a dealer's status.  The report stated: * * * It was definitely ascertained that the loss from*1145  operations was based on a condition of actual cost of the securities sold and no adjustment for a dealer's status relative to inventories obtained.  *350  Petitioner's returns for 1928 and 1929 were prepared under the supervision of one Eppstein, now deceased, by a certified public accountant, also deceased, who was employed by petitioner and in charge of its books.  Edward S. Evans, owner of all the outstanding shares of stock of petitioner during the years 1928 and 1929, did not include in his gross income the entire distributive shares, whether distributed or not, of the dividends received by petitioner for the years 1928 and 1929.  The above set out transactions, including the Evans-Bassick deal, the organization of petitioner, and the declaration and payment of the dividends in question, were under the direction and advice of Eppstein, tax consultant for Evans, the Evans Corporation, and petitioner.  He had been recommended to Evans by Bassick.  Edward S. Evans has been in business in Detroit since May 1915.  During 1928 and 1929 he was president of twelve companies, director in eight, and a director in two banks.  Petitioner's returns for the years in question*1146  were false and fraudulent with the intent to evade tax.  A part of the deficiencies for these years was due to fraud with intent to evade tax.  Petitioner was a mere holding or investment company and was formed and availed of for the purpose of preventing the imposition of the surtax upon its sole stockholder, Edward S. Evans, through the medium of permitting its earnings and profits and more particularly the dividends received in November and December 1928 and January 1929, to accumulate instead of being distributed to Edward S. Evans.  OPINION.  OPPER: In general terms the question is petitioner's liability to surtax under section 104 of the Revenue Act of 1928. 1 Respondent charges that petitioner's returns were fraudulent and unless he is *351  sustained in this contention we shall not be required to decide the substantive question, for the deficiencies would be barred by the statute of limitations.  *1147  Although the years involved are 1928 and 1929, the case must be considered against a historical background dating from 1923.  In that year Edward S. Evans, the sole stockholder of petitioner, brought about the typical series of complicated corporate transactions to the end of effecting a sale of a part of his stock interest in E. S. Evans &amp; Co. without the payment of any tax on the gain resulting.  Avoiding unnecessary detail, the operation consisted of the organization of two new corporations, one of which, the Evans Corporation - which, for convenience, we shall hereinafter call the Corporation - became the owner of the stock of the second new corporation which, in turn, through intermediate ownership of Evans' stock in E. S. Evans &amp; Co., acquired the latter's assets.  A part of the second corporation's stock was then sold by the Corporation for cash, which it retained.  In four years the Corporation's earned surplus grew to over $600,000 and by the end of 1928 it had reached nearly $1,400,000.  During all this period no dividends had been declared.  At about that time respondent notified the Corporation of his intention to proceed against it, under Revenue Acts of 1924 and*1148  1926, for the undue accumulation of surplus in 1924, 1925, and 1926.  Thereupon petitioner was organized and Evans transferred to it all of his stock in the Corporation, taking in exchange the stock of petitioner.  Within a few months, during the latter part of 1928 and the early part of 1929, the Corporation declared in dividends which were received by petitioner a total of over a million and a half dollars.  Petitioner's returns for those two years contain no reference to these payments.  It is this omission to which respondent refers in the charge of fraud.  Petitioner does not deny its failure to disclose the receipt of the dividends, but seeks to excuse its action in substance upon the dual ground that the omission was immaterial since the dividends were not taxable, and that it was proper because their payment out of the Corporation's surplus correspondingly reduced the value of the Corporation's stock and left petitioner's total assets and liabilities in the same balance as they were when it was organized.  A survey and consideration of the entire record makes it impossible to escape the conclusion that the charge of fraud has been sustained. *1149  Giving the greatest possible weight to all inferences in petitioner's favor and the most sympathetic consideration to its explanations, there yet emerges the inescapable concealment of the receipt of *352  enormous items of income.  Petitioner's attempted justification, even were it more persuasive, could scarcely support so flagrant an omission to report the facts.  Louis Ginsburg,13 B.T.A. 417"&gt;13 B.T.A. 417. We have accordingly found as a fact that petitioner filed false and fraudulent returns for both years with intent to evade tax.  We think this conclusion may be demonstrated to a mathematical certainty as follows: If the 1928 return had been prepared and filed with as much information as was called for there would have been shown on the first page under the heading "gross income": 1.  Gross sales from trading or manufacturing$12,571.002.  Less cost of goods sold:(a) Inventory at close of preceding year (opening inventory)$2,500,000.00(b) Merchandise bought for sale12,112.50(c) Cost of manufacturing or otherwise producing goods0.00(d) Total of lines a, b and c$2,512,112.50(e) Less inventory at end of year2,222,819.473.  Gross profit from trading or manufacturing (loss)289,293.034.  Interest578.969.  Dividends on stock of domestic corporations575,000.0011.  Total income$298,856.93DEDUCTIONS:15.  Interest$677.8119.  Dividends (From Schedule H)575,000.0023.  Total deductions$575,677.8124.  Net income (loss)$276,820.88*1150  These are all the transactions which the proof shows were effected in 1928.  The comparatively smally items of interest and of goods bought and sold did not appear upon the 1928 return.  For its omission petitioner offers the explanation that so little was done in 1928 as to make it virtually true that no business was transacted in that year.  "Petitioner corporation, although organized in 1928, was substantially not in business until 1929." We feel justified in assuming, therefore, and it would be contrary to petitioner's assertions if we did not, that nothing more need be inserted opposite the entry "merchandise bought for sale" or costs or other expenses of purchases, sales or operations.  On petitioner's theory, therefore, the foregoing would have been the correct entries on the 1928 return.  They did not appear on that return.  And although some of the items could be deducted from a careful examination of the return, that does not apply to the $575,000 received by petitioner in cash as dividends from the Corporation which, of course, is the crux of the present proceeding.  *353  As far as normal tax is concerned that item might make no difference; for ordinary dividends*1151  were not subject to normal tax in the hands of corporate recipients.  But under section 104 they must be included in corporate income.  And without some indication on the return there was no manner in which respondent could gather that this large sum had been received or could determine for himself whether section 104 was applicable and, if so, the amount of the income chargeable thereunder.  It might be possible for a taxpayer to be innocently unconscious of this possibility and, without knowledge of the significance of section 104 and of the receipt of dividends in connection therewith, to omit a dividend item without fraudulent intent, even one so large as that presently involved.  It would, it seems to us, even then be negligent and dangerous, but perhaps a case could be made under such circumstances for the good faith of the action.  Here, however, the organization of petitioner took place within a few weeks after the time that its predecessor and subsidiary had been charged by respondent under the old section 220, the forerunner of section 104.  The year ended soon thereafter and the return was due in the following March.  Petitioner was evidently organized to receive the dividends*1152  which its predecessor corporation was about to pay, 2 with the result, if not for the purpose, of precluding the application to the latter of that section.  This history seems to us to give the concealment of the dividend a more sinister aspect.  Not only does it remove any possible contention by petitioner that its officers and agents were unaware of the significance of the receipt and payment of dividends for purposes of section 104, it also establishes a motive for the concealment which is not reconcilable with innocent mistake.  For by declaring a dividend the Corporation was enabled to frustrate, at least for 1928 and 1929, respondent's attempt to apply to it the penalty provisions of section 104.  By concealing the fact that petitioner was the recipient of that dividend, it was made equally impossible for him*1153  to follow the process through and to enforce against this petitioner the penalty which its affiliate had avoided.  The ultimate result was that the earnings of the Corporation no more found their way into the personal income of its erstwhile individual stockholder than they would have if the dividends had not been declared; while at the same time the penalty devised for this result was successfully avoided.  The record thus demonstrates conclusively that there was a concealment of an item of income of such proportions that the authors *354  of the return could not have overlooked it, M. Rea Gano,19 B.T.A. 518"&gt;19 B.T.A. 518; that it must therefore have been intentional; that it was material; that its materiality was known; and that its omission prevented the computation, assertion, and exaction of the tax for which the facts actually called.  There are other respects in which concealments in the 1928 return would tend to mislead the respondent.  The balance sheet attached to the return shows a comparatively insignificant item of cash in the amount of about $34,000.  The Evans' dividends were paid in cash during the latter part of the year, $250,000 having been disbursed*1154  on December 20.  As we have noted, petitioner, an investment company, emphatically denies that it transacted any business of consequence during the year 1928 - "petitioner had, substantially speaking, no transactions during the balance of the year 1928." It is therefore impossible for it to contend that it invested a sum as large as $575,000 within that brief period.  The conclusion is inescapable that the great preponderance of the dividend receipts remained on hand in cash at the end of the year.  A reference to so large a sum on the balance sheet with no indication of the transaction of any business could reasonably lead to inquiry on the respondent's part, but this fact does not appear on the return.  Again, the question is asked on the return: "Was the corporation in any way an outgrowth, result, continuation, or reorganization of a business or businesses in existence during this or any prior year since December 31, 1917?" This question is unanswered.  It is followed by the requirement: "If answer is 'yes' give name and address of each predecessor business, and date of change in entity." No such name is given.  Petitioner's brief states: "Evans Corporation had been in business*1155  for some years as a dealer in securities and it is apparent that Saven Corporation was formed for the purpose of taking over the business of the Evans Corporation." A reference to the relationship of the Evans Corporation at this point could well have called to respondent's attention the connection between the two corporations.  While, taken by itself, the failure to answer can perhaps not justifiably be treated as a misrepresentation, there is no explanation for it, and it seems to us, in connection with the other circumstances, an added indication of petitioner's concern that no telltale clue appear which would disclose the true significance of the dividends declared by the Evans Corporation and their receipt by petitioner.  We are satisfied that petitioner's 1928 return was deliberately conceived to mislead the respondent; that it was false in material and in carefully and consciously calculated respects; that it was purposely and intentionally executed and filed with intent thereby that *355  petitioner should be enabled to escape Federal taxes; and that the deficiency here determined was due to that fraudulent design.  Similar conclusions follow with respect to the 1929*1156  return.  It also failed to disclose a dividend, in that case of over a million dollars.  Its balance sheet carried forward the closing balance sheet of the previous year and failed to indicate the possession of a large amount of cash.  Perhaps in one sense it was even more flagrant than the previous return, in that a line referring to dividends is not left blank, as was that for 1928, but contains a figure of insignificant proportions and affirmatively fails to disclose the truth as to the total dividends received.  The same conclusion must follow on the fraud question with respect to the 1929 return.  Much is made of the fact that the returns were prepared by petitioner's accountant under the direction of its tax consultant, but were signed and sworn to by its president and treasurer, Evans; that the latter claims to have relied largely on the advice of the two former individuals in executing the returns; and that, since they are now dead and can not testify and, inferentially, since Evans had no personal knowledge of the falsity of the returns, the conclusion of fraud can not be supported.  Evans is also shown to have been a man of many business interests and of some consequence*1157  in the community.  We may say in passing that the testimony shows nevertheless that Evans "would read what had been written and discussed it [the tax return] at the time I [he] signed it" and that, as to the payment of the dividend "I probably knew it at the time, if it was done." But be that as it may, what we consider the short and final answer is that the charge of fraud is here leveled at the petitioner, which is a corporation.  Like any other corporation, it could act only through its officers, employees, and agents.  Commercial Credit Corporation v. Wells, 228 (N.Y.)App.Div. 402; 240 N.Y.S. 139"&gt;240 N.Y.S. 139, 142. Its action can be viewed only as the sum of the acts performed in its name by such of these individuals as were concerned.  If petitioner had knowledge through the mind of one of its authorized agents of a fact, as we think it unquestionably did, and through the same or another agent deliberately and fraudulently made a contrary statement which was signed and sworn to by still another, all that knowledge and all those acts would nevertheless be attributable to petitioner.  *1158 New York Central &amp; Hudson River Railroad v. United States,212 U.S. 481"&gt;212 U.S. 481, 492-495; Philadelphia, Wilmington &amp; Baltimore Railroad Co. v. Quigley,62 U.S. 202"&gt;62 U.S. 202, 211; Hill v. Associated Almond Growers (Cal.), 265 Pac. 873, 875; Summerill Tubing Co.,36 B.T.A. 347"&gt;36 B.T.A. 347. In no other manner, it seems to us, would it ever be possible to determine that fraud had been committed by a corporation, although it can not be doubted that a corporation is *356  capable of committing fraud.  10 Fletcher on Corporations, Perm. Ed., 384; L. Schepp Co.,25 B.T.A. 419"&gt;25 B.T.A. 419. It follows in our view that no exculpation of petitioner's purposely deceitful conduct can be drawn from this aspect of the transaction.  Petitioner offered no evidence against the application of section 104, independent of the issues it raises with respect to fraud.  Since, however, two of its contentions under the latter question would also be material in a discussion of the application of section 104, they require disposition.  In the first place it is asserted that petitioner's stockholders avoided no tax because under *1159 W. S. Farish &amp; Co.,38 B.T.A. 150"&gt;38 B.T.A. 150; affd. (C.C.A., 5th Cir.), 104 Fed.(2d) 833, petitioner's balance sheet was such that it had no accumulated earnings and profits and therefore section 104 is deprived of any force.  This follows from petitioner's argument that, since the dividends were declared out of the surplus of its subsidiary corporation, that was an equivalent reduction in the value of its asset, consisting of the subsidiary's stock.  The difficulty is that there is no evidence extrinsic of the books to indicate the value of the subsidiary's stock at the close of the year.  The Corporation was an active functioning company and it seems apparent that for other reasons this stock could have increased in value due to earnings or appreciation in assets to ann extent which might offset or at least diminish the reduction caused by payment of the dividend.3 There is nothing anywhere in the record from which it may even be inferred that such was not the fact.  We think that in this phase of the case petitioner had the burden of going forward and that evidence should have been produced if it was available that the market value of the stock had correspondingly*1160  declined.  But even if we are wrong in this, and if the burden upon the respondent goes so far as to require that the evidence on this point also appear affirmatively in denial of petitioner's assertions, it happens that petitioner's own statements supply that evidence.  It is furnished by the balance sheet, presumably reflecting the condition of its books, which petitioner attached to its return for both years.  B. F. Edwards,39 B.T.A. 735"&gt;39 B.T.A. 735. The balance sheet shows that the decrease in inventory was less by several hundred thousand dollars than the dividends received in 1928; and in 1929 the inventory increased rather than the reverse.  It the $575,000 in cash which petitioner received in dividends, but did not show, be added to the assets, at least the difference would have been available for distribution in 1928; and, not having been distributed in 1928, it would have remained *357  to increase petitioner's surplus and*1161  leave an equivalent amount subject to distribution in 1929.  And see R. L. Blaffer &amp; Co.,37 B.T.A. 851"&gt;37 B.T.A. 851; affd. (C.C.A., 5th Cir.), 103 Fed.(2d) 487. Nor are we impressed by petitioner's citation of Corporate Investment Co.,40 B.T.A. 1156"&gt;40 B.T.A. 1156, 1171. To say, as the Board said there, that a surplus carried over from prior years does not constitute an accumulation of earnings and profits of the current year is fundamentally different from the conclusion we should have to reach here that dividends received in the current year are not earnings and profits of the recipient merely because they may represent a prior year's earnings of the declaring corporation.  Second, the argument is made that petitioner was a dealer in securities and as such, entitled to inventory its stock on hand; and that since it treated the dividends as received in liquidation any income was offset by the loss in the inventory account, with the result that the dividends did not increase its net worth.  Without deciding whether petitioner can be considered a dealer - see *1162 O. L. Burnett,40 B.T.A. 605"&gt;40 B.T.A. 605; affirmed on this issue (C.C.A., 5th Cir.), 118 Fed.(2d) 659 - or whether in principle or practice it actually operated on the inventory method, what we have said on the previous point will also dispose of this one.  If the dividends received be added to the inventories which petitioner itself shows on the tax returns, the increase in net worth follows automatically.  This argument of petitioner may have some weight in answer to respondent's assertion that if this was in fact a liquidating dividend, petitioner's basis was so small that a sizeable gain resulted which should have been reported for normal tax purposes in both years.  On this question we express no opinion, for the case is not so presented as to raise any issue on petitioner's taxable income, except under section 104.  We may mention in passing, however, that petitioner now concedes that the amounts it received were not liquidating dividends.  If they were not and are not in consequence to be viewed as a payment in exchange for the stock, petitioner's treatment of them in that manner on its books was another instance of lack of due regard for accuracy in recording*1163  the transaction.  Since petitioner has offered no evidence to rebut the presumption of correctness attaching to the deficiency notice, it has not sustained its burden of showing that section 104 is inapplicable.  We need not, however, rest our decision upon that point, for petitioner was characterized by its president at the hearing as a "holding company" what evidence there is indicates its only business was investment; 4*358  so that it was clearly "a mere holding or investment company", and we have so found as a fact.  There is no evidence to rebut the presumption which the statute creates when this appears.  Similarly, petitioner concedes the applicability of the 25 percent penalty for delinquent filing of the 1928 return, if there should be any deficiency to which it could attach.  Having found that respondent has sustained the burden of proving fraud, the remaining issues must accordingly likewise be decided in his favor.  *1164  Reviewed by the Board.  Decision will be entered under Rule 50.Footnotes1. SEC. 104.  ACCUMULATION OF SURPLUS TO EVADE SURTAXES.  (a) If any corporation, however, created or organized, is formed or availed of for the purpose of preventing the imposition of the surtax upon its shareholders through the medium of permitting its gains and profits to accumulate instead of being divided or distributed, there shall be levied, collected, and paid for each taxable year upon the net income of such corporation a tax equal to 50 per centum of the amount thereof, which shall be in addition to the tax imposed by section 13 and shall be computed, collected, and paid upon the same basis and in the same manner and subject to the same provisions of law, including penalties, as that tax.  (b) The fact that any corporation is a mere holding or investment company or that the gains or profits are permitted to accumulate beyond the reasonable needs of the business, shall be prima facie evidence of a purpose to escape the surtax.  (c) As used in this section the term "net income" means the net income as defined in section 21, increased by the sum of the amount of the dividend deduction allowed under section 23(p) and the amount of the interest on obligations of the United States issued after September 1, 1917, which would be subject to tax in whole or in part in the hands of an individual owner.  * * * ↩2. "* * * Petitioner corporation, on the contrary, was formed for the purpose of taking over the going business of a predecessor corporation, which was accomplished not through a tax free reorganization, but through what amounted to a transfer of the earned surplus, in property, of the Evans Corporation to petitioner as a dividend * * *." (Petitioner's brief.) ↩3. From the end of 1927 to the end of 1928 there was an apparent increase in earned surplus of almost $800,000 and the dividends declared in 1928 and 1929 totaled almost $200,000 more than the surplus shown in the latter part of 1928. ↩4. Thus, as reiterated in petitioner's brief, it "was formed for the purpose of taking over the going business of a predecessor corporation" which, as its president testified, had in turn been "engaged in the investment banking business dealing in securities, particularly bonds." ↩